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  1 Rod Pacheco, Esq. (State Bar No. 112432)
    Brian Neach, Esq. (State Bar No. 242801)
  2 Eric J. Fromme (State Bar No. 193517)
    PACHECO & NEACH PC
  3 Three Park Plaza, Suite 120
    Irvine, California 92614
  4 Telephone: 714.462.1700
    Facsimile: 714.462.1785
  5
    Attorneys for plaintiff KHAAZRA MAARANU,
  6 an individual, and nominal defendant
    ELECTRONIC COMMERCE, LLC
  7

  8                               UNITED STATES DISTRICT COURT

  9                              CENTRAL DISTRICT OF CALIFORNIA

 10                                         SOUTHERN DIVISION

 11 KHAAZRA MAARANU, an individual,                 Case No.

 12                Plaintiff,
                                                    COMPLAINT FOR:
 13         vs.                                     (1) FRAUD
                                                    (2) INENTIONAL INTERFERENCE
 14 ECOMMERCE SAAS, LLC, an Arizona                     WITH CONTRACTUAL RELATIONS
    limited liability company; OFI SAAS, LLC, an    (3) INTENTIONAL INTERFERENCE
 15 Arizona limited liability company; 488 CLUB,        WITH PROSPECTIVE ECONOMIC
    LLC, an Arizona limited liability company;          RELATIONS
 16 JOHN LAKATOS, an individual; JOSEPH             (4) BREACH OF FIDUCIARY DUTY
    DALY,         an     individual,      MICHAEL   (5) CONVERSION; AND
 17 CARNAVELE,          an    individual,   TYLER   (6) UNFAIR COMPETITION UNDER
    NEUROTH, an individual;; and Does 1-100,            BUSINESS AND PROFESSIONS
 18 inclusive,                                          CODE § 17200

 19                Defendants, AND                  JURY TRIAL REQUESTED

 20
      ELECTRONIC COMMERCE, LLC, a
 21   Delaware limited liability company,

 22                Nominal Defendant.

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  1          Plaintiff Khaazra Maaranu (“Plaintiff”) derivatively on behalf of Electronic
  2 Commerce LLC (“Electronic Commerce” together with Plaintiff, “Plaintiffs”), and in his

  3 individual capacity, alleges against Defendants Ecommerce SAAS, LLC, an Arizona limited

  4 liability company (“Ecommerce SAAS”), OFI SAAS, LLC, an Arizona limited liability

  5 company (“OFI SAAS”), 488 Club, LLC, an Arizona limited liability company (“488

  6 Club”), John Lakatos, an individual (“Lakatos”) ,Joseph Daly, an individual (“Daly”),

  7 Michael Carnavele, an individual (“Carnavele”), Tyler Neuroth, an individual (“Neuroth”)

  8 and Does 1-100, inclusive (collectively, “Defendants”), as follows:

  9                                              PARTIES
 10          1.     Plaintiff is an individual who resides in the County of Orange and the State of

 11 Florida. At all times relevant herein, Plaintiff is an owner of 50% of nominal defendant Electronic

 12 Commerce. Plaintiff brings this action pursuant to and California Corporations Code § 17709.2.

 13          2.     As a current owner of 50% of the membership interests of Electronic Commerce

 14 during the period the wrongs alleged herein, Plaintiff has standing to assert these claims on behalf

 15 of Electronic Commerce and will fairly and adequately protect the interests of Electronic Commerce

 16 and its members.

 17          3.     Nominal defendant Electronic Commerce is, at all relevant times hereto, a limited

 18 liability company formed under the laws of the State of Delaware with its principal place of business

 19 in Orange County, State of California.

 20          4.     Defendant Ecommerce SAAS is, and at all relevant times herein, is an Arizona

 21 limited liability company. Ecommerce SAAS is registered to do business as a foreign entity in the

 22 State and California, and at all relevant times, its principal place of business was in the County of

 23 Orange.

 24          5.     Defendant OFI SAAS, LLC is, and at all relevant times herein, is an Arizona limited

 25 liability company.

 26          6.     Defendant 488 Club, LLC is, and at all relevant times herein, an Arizona limited

 27 liability company.

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  1           7.    Plaintiff is informed and believes and thereupon alleges that, defendant Lakatos is,

  2 and at all times relevant herein, an individual who resides in the County of Los Angeles and the

  3 State of California.

  4           8.    Plaintiff is informed and believes and thereupon alleges that, defendant Daly is, and

  5 at all relevant times herein, an individual who resides in the County of Orange and the State of

  6 California.

  7           9.    Defendant Carnavele is, and at all times relevant herein, an individual who resides in

  8 the County of San Diego and the State of California.

  9           10.   Plaintiff is informed and believes and thereupon alleges that, defendant Neuroth is,

 10 and at all relevant times herein, an individual who resides in the County of Orange and the State of

 11 California.

 12           11.   Plaintiff brings this action derivatively in the right and for the benefit of Electronic

 13 Commerce to redress the injuries suffered, and to be suffered, by Electronic Commerce as a direct

 14 result of the breach of fiduciary duty, unjust enrichment, interference with contract, interference

 15 with economic advantage and fraud alleged herein.

 16           12.   Electronic Commerce is named as a nominal defendant solely in a derivative

 17 capacity.

 18           13.   Plaintiff will adequately and fairly represent the interests of Electronic Commerce in

 19 enforcing and prosecuting its rights.

 20           14.   Plaintiff is and has continuously been a 50% equal co-owner with Darnell Ponder

 21 (“Ponder”) of Electronic Commerce’s membership units during the wrongful conduct alleged

 22 herein.

 23           15.   Plaintiff for many months has sought Ponder’s adherence to his fiduciary and

 24 contractual duties, including a cessation of Lakatos and Neuroth, in concert with Ponder, competing

 25 with Electronic Commerce, grossly mismanaging Electronic Commerce’s relationship with its

 26 sponsoring back, and allowing Plaintiff access to Electronic Commerce’s premises, email account,

 27 operations, and books and records. Lakatos and Neuroth, on concert with Ponder, however, have

 28 ignored Plaintiff’s requests and failed and refused to cease the conduct giving rise to the causes of

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  1 action alleged herein. Any request by Plaintiff to Ponder to prosecute the causes of action contained

  2 herein would be futile as Ponder is the alleged wrongful actor and would thus not vindicate the rights

  3 of Electronic Commerce.

  4          16.     Plaintiff is informed and believes, and based thereon alleges, that because Electronic

  5 Commerce is equally owned by Plaintiff and Ponder, with each owing 50%, majority of the members

  6 cannot challenge the transactions alleged herein and Ponder is an interested party to the challenged

  7 transactions and allegations alleged herein, thus any demand upon Ponder to pursue this Complaint

  8 would be futile. In short, Ponder has a clear and obvious conflict making any demand upon him to

  9 prosecute this Complaint futile.

 10          17.     As alleged herein below, Ponder, the equal co-owner, is neither disinterested nor

 11 independent with respect to the acts complained of and there is substantial doubt that those acts were

 12 not the product of a valid exercise of business judgment. Ponder wields total power over Electronic

 13 Commerce and is involved in all the wrongdoing alleged herein. Finally, the facts and circumstances

 14 of the improper transactions themselves demonstrate that they are likely not the result of the valid

 15 exercise of business judgment.

 16          18.     Doe 1 is the trustee of the 488 Marque Trust. Based on the information presently

 17 known to Plaintiff, 488 Marque Trust is the sole member and manager of both Defendant

 18 Ecommerce SAAS and OFI SAAS.

 19          19.     The true names and capacities, whether individual, plural, corporate, partnership or

 20 otherwise, of Does 2 through 100, inclusive is unknown to Plaintiff who therefore sues said

 21 defendants by such fictitious names. The full extent of the facts linking such fictitiously sued

 22 defendants is unknown to Plaintiff. Plaintiff is informed, believes, and thereon alleges, that each of

 23 the defendants designated herein as Doe was and is negligent, or in some other actionable manner,

 24 responsible for the events and happenings hereinafter referred to and thereby negligent, or in some

 25 other actionable manner, legally and proximately caused the hereinafter described injuries and

 26 damages to Plaintiff. Plaintiff will hereafter seek leave of Court to amend this Complaint to show

 27 the defendants’ true names and capacities after the same has been ascertained.

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  1                                    JURISDICTION AND VENUE

  2          20.     Plaintiff is informed and believes, and based thereon alleges, that jurisdiction and

  3 venue is proper in the Federal District Court for the Central District of California pursuant to 28

  4 U.S.C. § 1332 because Plaintiff resides in the State of Florida, each individual Defendant resides in

  5 the state of California, nominal Defendant Ecommerce is a Delaware limited liability company with

  6 its principal place of business Newport Beach, California, Defendant 488 Club is an Arizona limited

  7 liability company, and Defendant Ecommerce SAAS and OFI SAAS is Arizona limited liability

  8 companies with their principal place of business in Newport Beach, California.

  9                                      GENERAL ALLEGATIONS

 10          21.     On January 7, 2011, Plaintiff formed Electronic Commerce LLC as a Florida limited

 11 liability company.

 12          22.     Soon thereafter, on May 3, 2001, Plaintiff filed Articles of Amendment with the

 13 Florida Secretary of State identifying Plaintiff and Ponder as the sole managing members of

 14 Electronic Commerce LLC, a Florida limited liability company.

 15          23.     Plaintiff formed Electronic Commerce for the purpose of engaging in the credit card

 16 processing and electronic commerce service business.

 17          24.     Electronic Commerce is an independent sales organization. An independent sales

 18 organization is a third-party organization representing a bank or other financial institution that sells

 19 and promotes its credit card processing services to businesses (referred to as “merchants”), one of

 20 which is merchant accounts. A business needs a merchant account to accept credit card payments

 21 from customers for purchases of its goods and services.

 22          25.     An independent sales organization sets up partnerships with various banks to find,

 23 open and manage merchant accounts on behalf of the banks it represents. The independent sales

 24 organization reaches an agreement with banks that is properly licensed and will partner with and

 25 back the independent sales organization. The bank backing an independent sales organization is

 26 referred to as a “sponsoring bank.” The agreement between the independent sales organization and

 27 the sponsoring bank allows the independent sales organization to act as a representative of the

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  1 sponsoring bank, and the card associations - Visa, Mastercard, American Express, and Discovery

  2 (the “Cards Brands”), with which the sponsoring bank has agreements.

  3          26.     Under the agreements between the sponsoring bank and the Card Brands, the

  4 sponsoring bank remains responsible for the conduct of its independent sales organizations and the

  5 resulting merchant relationships. Thus, in addition to requiring the independent sales organization

  6 to conduct its business activities in compliance with rules set by the Card Brand’s, the sponsoring

  7 bank’s agreement with the independent sales organization routinely sets forth merchant

  8 underwriting guidelines and specifies the type of merchants that the sponsoring bank is willing to

  9 work with by enumerating “accepted” merchant categories and “prohibited” and/or “restricted”

 10 merchant categories.

 11          27.    Some businesses present a higher risk of exposure to sponsoring banks than other

 12 businesses. Thus, the Card Brands and the sponsoring banks classify certain merchant categories as

 13 “high risk.” They also require that the referring organization accurately classify and categorize the

 14 merchants they refer based on the merchant’s business activities and products or services being sold

 15 by assigning it a four-digit number known as a merchant category code (“MCC”).

 16          28.    “High risk” merchant category codes are applied to industries that generate the

 17 highest levels of cardholder disputes, chargebacks, fraud, and represent higher levels of financial

 18 risk to the banks and/or create additional brand risk for regulatory reasons.

 19          29.    To address the risk of associated with cardholder disputes, chargebacks and fraud,

 20 the sponsoring bank” requires the independent sales organization to hold a certain amount of funds

 21 in reserve account at the sponsoring bank to cover chargebacks by the customers of merchants and

 22 credit card fraud. The independent sales organization in turn determines the amount of the reserves

 23 necessary for each merchant which is held at the sponsoring bank in a merchant reserve account and

 24 the amount of the reserve may be adjusted based on the chargeback history and total amount of

 25 charges made by the merchant.

 26          30.    In addition, sponsoring banks have policies prohibiting or limiting service to certain

 27 “high risk’ merchant categories.

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  1          31.     Independent sales organizations routinely contract with independent contractor sales

  2 agents to solicit merchants for referral to the sponsoring bank. “Sales Agents” commonly assist

  3 prospective merchants in completing the merchant application and agreement for presentation by

  4 the independent sales organization to the sponsoring bank for approval. The independent sales

  5 organization compensates the sales agent for these services by paying the sales agent a contractually

  6 agreed upon percentage of the independent sales organization’s residuals.

  7          32.     Electronic Commerce also contracts with independent contractor sales agents to

  8 identify and sign-up new merchants with Electronic Commerce.

  9          33.     On or about April 24, 2017, Electronic Commerce and Commercial Bank of

 10 California (“CBCal”) entered a Merchant Marketing and Processing Agreement (the “MMPA”).

 11 contract with which sets for the terms of their business relationship including the types of merchants

 12 that Electronic Commerce can enter into service agreements on behalf of CBCal.

 13          34.     In addition to requiring Electronic Commerce to conduct its business activities in

 14 compliance with Card Brand rules, the MMPA requires Electronic Commerce to send all merchant

 15 information to CBCal for risk evaluation and possible underwriting. The MMPA also specifies

 16 “restricted” and “prohibited” merchant categories.

 17          35.     The MMPA requires Electronic Commerce to establish and maintain at CBCal a

 18 merchant settlement account int which all deposits flow from all merchant processing activity from

 19 Electronic Commerce, and a reserve account. The required amount for the reserve account under

 20 the MMPA is based on an analysis of numerous factors, including Electronic Commerce’s financial

 21 stability and performance, which includes the number of chargebacks and fraud claims Electronic

 22 Commerce’s merchant portfolio generates. The reserve account is intended to ensure that there are

 23 always sufficient funds on deposit with the CBCal to cover Electronic Commerce’s anticipated

 24 liabilities.

 25          36.     The MMPA also requires Electronic Commerce to maintain merchant reserve

 26 accounts to ensure that there are sufficient funds on deposit to cover the merchant’s anticipated

 27 liabilities.

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  1          37.    Since entering the MMPA, Electronic Commerce has represented and continues to

  2 represent CBCal as an independent sales organization, by finding, opening, and managing merchant

  3 accounts and providing the merchants credit card processing services.

  4          38.    CBCal may request Electronic Commerce to increase from time to time the amount

  5 of the reserve account or a particular merchant reserve account based on the chargeback history,

  6 fraud activity and total amount of charges for a merchant.

  7          39.    CBCal also has the right under the MMPA to require Electronic Commerce to cancel

  8 and otherwise terminate a service agreement with a particular merchant based on, among other

  9 things, chargeback and fraud claims exceeding the amount CBCal agreed to accept.

 10          40.    Since Electronic Commerce’s inception, while Plaintiff and Ponder operated

 11 Electronic Commerce equally with each taking a hand in operating the business, running the “back

 12 office” of the business that supported the merchants that contracted with Electronic Commerce, and,

 13 since at least 2017, maintaining Electronic Commerce’s relationship with CBCal.

 14          41.    From Electronic Commerce’s beginnings, however, Plaintiff was the fundamental

 15 part of the sales side of Electronic Commerce’s business and was the primary source of Electronic

 16 Commerce’s clients while also providing customer service, technical support and working

 17 operations. Initially, Electronic Commerce was an independent sales agent referring merchants to

 18 credit card processors, but it eventually evolved to become a full-service provider of credit card

 19 processing services that it is today.

 20          42.    For many years, while Plaintiff traveled the country signing up new merchants with

 21 Electronic Commerce, he also regularly visited Electronic Commerce’s offices in California.

 22          43.    Plaintiff and Ponder were close friends for many years, often vacationing together.

 23 Ponder was also the best man at Plaintiff’s wedding.

 24          44.    In or around early 2018, Ponder, decided, and proposed to Plaintiff to change

 25 Electronic Commerce from a Florida limited liability company to one organized under the laws of

 26 the State of Delaware.

 27          45.    On or about October 23, 2018, Electronic Commerce was formed as a Delaware

 28 limited liability company.

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  1          46.     On or about January 24, 2019, Articles of Dissolution were filed with the Florida

  2 Secretary of State dissolving Electronic Commerce LLC as a Florida limited liability company

  3 identifying that the “Entity was incorporated in a foreign state.”

  4          47.     On or about May 9, 2019, Ponder and Plaintiff signed the Limited Liability Company

  5 Agreement of Electronic Commerce LLC, a Limited Liability Company v2.0 (the “LLC

  6 Agreement”). Attached hereto as Exhibit A is a true and correct copy of the LLC Agreement.

  7          48.     The LLC Agreement “supersedes any and all agreements and is the newest version”.

  8 [Ex. A., p.14]

  9          49.     Pursuant to the LLC Agreement, Ponder and Plaintiff is each 50% members of

 10 Electronic Commerce. [Ex. A. Sec. III.A., at p. 2.].

 11          50.     Ponder and Plaintiff each have equal voting power as they each is equal members of

 12 Electronic Commerce. [Ex. A. Sec. III. F.1. at p. 4.]

 13          51.     There are no other members of Electronic Commerce other than Ponder and Plaintiff.

 14          52.     Ponder owes fiduciary duties of loyalty and care to Electronic Commerce and agreed

 15 to such duties in the LLC Agreement. [Ex. A. Sec. III. H.1. at p. 5.]

 16          53.     Ponder expressly agreed that he “shall refrain from dealing with [Electronic

 17 Commerce] in the conduct of [Electronic Commerce]’s businesses as or on behalf of a party having

 18 an interest adverse to [Electronic Commerce] unless a majority, by individual vote, of the Members

 19 excluding the interested Member, consents thereto.” [Ex. A. Sec. III. H.2. at p. 5.]

 20          54.     Ponder expressly agreed that he “shall refrain from competing with [Electronic

 21 Commerce] in the conduct of [Electronic Commerce]’s business unless a majority, by individual

 22 vote, of the Members excluding the interested Member, consents thereto. [Ex. A. Sec. III. H.2. at p.

 23 5.]

 24          55.     Ponder has fiduciary duties of disclosure, good faith, and fair dealing to [Electronic

 25 Commerce] and to [Plaintiff]. [Ex. A. Sec. III. H.1. at p. 5.]

 26          56.     Officers of Electronic Commerce may only be appointed or removed by an

 27 affirmative vote of a majority of the Members of Electronic Commerce. [Ex. A. Sec. VI.A. at page

 28 7.]

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   1          57.    Officers of Electronic Commerce “shall have a fiduciary duty of loyalty and care

   2 similar to that of officers of limited liability companies organized under the laws of Delaware.” [Ex.

   3 A. Sec. VI.C.1. at page 9.]

   4          58.    Officers of Electronic Commerce “shall refrain from competing with the Company

   5 in the conduct of the Company’s business unless a majority, by individual vote, of the

   6 Members…consents thereto.” [Ex. A. Sec. VI.C.2. at page 9.]

   7          59.    Officers of Electronic “shall refrain from dealing with the Company in the conduct

   8 of the Company’s business as or on behalf of a party having an interest adverse to the Company,

   9 unless a majority, by individual vote, of the Members…consents thereto.” [Ex. A. Sec. VI.C.2. at

  10 page 9.]

  11          60.    It was beginning in 2019, unbeknownst to Plaintiff, that the relationship between

  12 Ponder and Plaintiff began to change.

  13          61.    Beginning in 2019, without the knowledge or consent of Plaintiff, Ponder began

  14 managing the operations of Electronic Commerce exclusively and began “freezing out” Plaintiff

  15 from Electronic Commerce’s operations and began appointing officers, including Defendants

  16 Lakatos and Neuroth, to Electronic Commerce without the knowledge or consent of Plaintiff

  17          62.    Plaintiff is informed and believes, and based thereon alleges, that beginning in 2019,

  18 Electronic Commerce, under Ponder’s direction and control, and in concert with Defendants Lakatos

  19 and Neuroth, began signing up new merchants to Electronic Commerce that had histories of

  20 significant chargebacks and credit card fraud.

  21          63.    Plaintiff is informed and believes, and based thereon alleges, that in March 2019,

  22 Ponder and Neuroth met with Allyy LLC, an independent sales agent that refers merchants to credit

  23 card processors like Electronic Commerce.

  24          64.    Plaintiff is informed and believes, and based thereon alleges, that Allyy has

  25 significant nutraceutical merchant referrals and that Ponder and Neuroth expressly stated that they

  26 wanted to sign up nutraceutical merchants with Electronic Commerce.

  27          65.    Plaintiff is informed and believes, and based thereon alleges, that nutraceutical

  28 merchants is considered high risk because their customers initiate a large number of chargebacks

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   1 because they feel the products do to confer the benefit as advertised, and the products is offered on

   2 a monthly subscription basis that customers challenge as inadequately disclosed.

   3          66.     Plaintiff is informed and believes, and based thereon alleges, that on or about April

   4 12, 2019, Allyy and Electronic Commerce, without the consent or knowledge of Plaintiff, entered

   5 into Independent Sales Agreement where Allyy would refer merchants to Electronic Commerce.

   6          67.     Plaintiff is informed and believes, and based thereon alleges, that the merchant

   7 accounts that Allyy presented to and were then serviced by Electronic Commerce had histories of

   8 substantial amounts of chargebacks and credit card fraud, which continued at Electronic Commerce

   9 and that despite this Ponder and Neuroth requested that Allyy send more nutraceutical merchants to

  10 Electronic Commerce.

  11          68.     Plaintiff is informed and believes, and based thereon alleges, that Ponder personally

  12 handled more than 90% of Allyy’s referrals and that he personally received the merchant

  13 applications and supporting documents for Allyy’s referrals and keyed them into Electronic

  14 Commerce’s system himself.

  15          69.     Plaintiff is informed and believes, and based thereon alleges, that Ponder and

  16 Neuroth knew that the nutraceutical merchants referred to Electronic Commerce would not meet

  17 CBCal’s underwriting requirements but caused Electronic Commerce to continue to onboard and

  18 process those merchants despite numerous complaints and instructions from CBCal that Electronic

  19 Commerce was to stop onboarding the nutraceutical merchants and to close all nutraceutical

  20 accounts.

  21          70.     Plaintiff is informed and believes, and based thereon alleges, that Ponder and

  22 Neuroth ignored the warnings and demands from CBCal and concealed the communications from

  23 CBCal from Plaintiff.

  24          71.     Plaintiff is informed and believes, and based thereon alleges, that when CBCal raised

  25 concerns about the new merchants that Electronic Commerce had contracted with Ponder and

  26 Neuroth without Plaintiff’s knowledge arranged a meeting with CBCal and excluded Plaintiff from

  27 participating.

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   1          72.    Plaintiff is informed and believes, and based thereon alleges, that on or about May

   2 31, 2019, Ponder and Neuroth set up a meeting with CBCal and Electronic Commerce on behalf of

   3 Electronic Commerce and specifically excluded Plaintiff, the equal co-owner of Electronic

   4 Commerce, from participating.

   5          73.    Plaintiff is informed and believes, and based thereon alleges, that Ponder Neuroth

   6 had many meetings and discussions with CBCal excluding Plaintiff from each of his meetings with

   7 CBCal, which included Defendant Lakatos while he was an employee of CBCal and refused and

   8 failed to inform Plaintiff of the substance of his meetings and communications with CBCal.

   9          74.    Plaintiff is informed and believes, and based thereon alleges, that Ponder and

  10 Neuroth continued, despite CBCal’s concerns to cause Electronic Commerce to sign up merchants

  11 that resulted in significant chargebacks and credit card fraud jeopardizing Electronic Commerce’s

  12 relationship with CBCal and damaging Electronic Commerce’s reputation in the credit card

  13 processing business.

  14          75.    Plaintiff is informed and believes, and based thereon alleges, that that as late as

  15 September 2019, despite concerns and objections raised by CBCal, Ponder and Neuroth requested

  16 that Ally continue to refer high risk nutraceutical merchants to Electronic Commerce.

  17          76.    On or about August 6, 2019, Daly formed Tangram Payments LLC, a California

  18 limited liability company.

  19          77.    Plaintiff is informed and believes, and based thereupon alleges, that a in November

  20 2019 a meeting was held in November of 2019 between representatives of CBCal and purported

  21 representatives of “Tangram.” Pursuant to a business plan that “Tangram” provided CBCal, Daly

  22 was Tangram’s Chief Executive Officer. The business plan also identified Hiep Tran and Alan

  23 Kleinman as being involved with “Tangram” and identified them as founders of and executives with

  24 other payment processing companies. The documents “Tangram” provided CBCal also identified

  25 the company’s website as “tangrampayments.com.” “Tangram,” however, never followed through

  26 after the meeting and no relationship was ever formed between it and CBCal

  27          78.    Plaintiff is informed and believes, and based thereon alleges, that in or around

  28 February 2020, CBCal began emailing Plaintiff, about the substantial chargeback and fraud history

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   1 on new merchant accounts, directly as its communications to Electronic Commerce’s staff were

   2 being ignored at the direction of Ponder and Neuroth.

   3          79.    Once Ponder and Neuroth discovered that Plaintiff had responded to CBCal, Ponder

   4 and Neuroth began blocking access and communications to Plaintiff’s Electronic Commerce email

   5 account at “khaazra@ec-processing.com. Ponder, Neuroth, and those working at their direction

   6 continue to block Plaintiff from accessing his email account.

   7          80.    In or around February 2020, Plaintiff requested information regarding the high risk

   8 nutraceutical merchants that had been signed up as merchants at Electronic Commerce by Ponder

   9 and Neuroth, and was told that they were addressing CBCal’s concerns, and his participation was

  10 not required.

  11          81.    Plaintiff is informed and believes, and based thereon alleges, that in late February

  12 2020, Ponder and Neuroth requested that Ally temporarily pause submitting more high-risk

  13 nutraceutical merchants to Electronic Commerce, which was reiterated to Ally in March 2020.

  14          82.    Plaintiff is informed and believes, and based thereon alleges, that Lakatos while still

  15 an employee of CBCal, began working with Electronic Commerce, or conspiring with Ponder

  16 assisting him in signing up new nutraceutical merchants.

  17          83.    On April 13, 2020, Ponder signed and caused to be filed with the California Secretary

  18 of State, on behalf of Electronic Commerce, the Application to Register a Foreign Limited Liability

  19 Company.

  20          84.    Plaintiff is informed and believes, and based thereon alleges, that on April 24, 2020,

  21 Electronic Commerce notified Ally that it would be closing a large number of nutraceutical

  22 merchant accounts based on an audit by Visa and CBCal that revealed a high amount of fraud ratios.

  23          85.    Plaintiff is informed and believes, and based thereon alleges, that on or about April

  24 30, 2020, CBCal required Electronic Commerce to terminate the agreements with all merchants in

  25 the Nutraceutical industry because these merchants’ chargeback and fraud claims had exceeded the

  26 limits provided for in Electronic Commerce’s contract with CBCal and the Card Brands had given

  27 notice of concerns about excessive chargebacks.

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   1          86.    Plaintiff is informed and believes, and based thereon alleges, that because Ponder

   2 and Neuroth had continued to enter into contracts with merchants that had substantial chargeback

   3 and fraud claims, CBCal began to require Electronic Commerce to terminate contracts with other

   4 merchants negatively impacting those merchants but also Electronic Commerce’s business.

   5          87.    Plaintiff is informed and believes, and based thereon alleges, that Ponder and

   6 Neuroth knowingly made false statements to CBCal when signing merchants that were high risk

   7 knowing that they did meet CBCal’s underwriting requirements, were on CBCal’s restricted list, or

   8 historically had large amounts of chargebacks or fraud claims.

   9          88.    Plaintiff is informed and believes, and based thereon alleges, that even after the

  10 account closures, Ponder and Neuroth, with the assistance of Lakatos, submitted merchant accounts

  11 in Ally’s portfolio to another processor and got them approved.

  12          89.    Plaintiff is informed and believes, and based thereon alleges, that in or around April

  13 2020, Ponder, without Plaintiff’s knowledge or consent, caused Electronic Commerce to hire a

  14 former employee of CBCal, Lakatos, and soon after appointed Lakatos as an officer of Electronic

  15 Commerce with a significant monthly salary of about $30,000.

  16          90.    Plaintiff is informed and believes, and based thereon alleges, that Ponder, Neuroth

  17 and Lakatos, continued to cause Electronic Commerce to sign up merchants that did not meet

  18 CBCal’s underwriting requirements and exceeded CBCal’s volume limits, chargeback limits and

  19 fraud claims, and that CBCal, upon discovery, would cause Electronic Commerce to terminate the

  20 merchant accounts.

  21          91.    Plaintiff is informed and believes, and based thereon alleges, that in or around May

  22 2020, Ponder, without the consent of Plaintiff, appointed Allan LaCoste as an officer of Electronic

  23 Commerce while he was also an officer of Nuvei.

  24          92.    Plaintiff is informed and believes, and based thereon alleges, that Nuvei is an

  25 independent service organization providing credit card payment services to merchants.

  26          93.    Plaintiff is informed and believes, and based thereon alleges, that during mid-2020,

  27 Alan LaCoste worked out of the offices of Electronic Commerce each Monday and directed the staff

  28 and employees of Electronic Commerce.

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   1          94.    Plaintiff is informed and believes, and based thereon alleges, that Ponder, Neuroth

   2 and Lakatos directed employees of Electronic Commerce to provide Allan LaCoste confidential

   3 information relating to the operations of Electronic Commerce, including transaction reports,

   4 chargeback reports, and merchant reports.

   5          95.    Plaintiff is informed and believes, and based thereon alleges, that Ponder, Neuroth

   6 and Lakatos put Allan LaCoste on Electronic Commerce organizational chart identifying him as an

   7 officer of Electronic Commerce.

   8          96.    Plaintiff is informed and believes, and based thereon alleges, that Alan LaCoste, with

   9 Ponder, Lakatos and Neuroth, participated in meeting and phone calls with potential sponsor banks

  10 for Electronic Commerce, including BBVA bank and The Bancorp Bank, identifying himself with

  11 a different name as the new chief executive officer of Electronic Commerce.

  12          97.    Plaintiff is informed and believes, and based thereon alleges, that Ponder, and Allan

  13 LaCoste met with CBCal where they presented a proposal to CBCal would refer higher risk

  14 merchants to Electronic Commerce for credit card processing with CBCal.

  15          98.    On or about May 22, 2020, Electronic Commerce paid $12,500 directly to Allan

  16 LaCoste while he was an officer of Nuvei.

  17          99.    On or about June 24, 2020, Electronic Commerce PAID $12,500 directly to Allan

  18 LaCoste while he was an officer of Nuvei.

  19          100.   In or around May 2020, CBCal began including Plaintiff in email communications

  20 relating to Electronic Commerce using Plaintiff’s alternative email address.

  21          101.   In or around May 2020, Plaintiff requested information as to how CBCal’s concerns

  22 about “high risk” merchants and excessive chargebacks were being addressed, and was told by

  23 Ponder, Neuroth and others working under their supervision that the issues were being resolved and

  24 he need not worry.

  25          102.   In or around June 2020, Plaintiff requested information on the role of Allan Lacoste

  26 and John Lakatos and the amounts they were being paid and was told by Ponder, Lakatos and

  27 Neuroth and others that Ponder needed help in operating Electronic Commerce and that he need not

  28 be concerned about operations.

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   1          103.   Plaintiff is informed and believes, and based thereon alleges, that in or about June

   2 2020, Ponder, Lakatos and Neuroth caused Electronic Commerce to pay $250,000 to Merchant

   3 Kings, http://merchantkings.com.

   4          104.   Plaintiff is informed and believes, and based thereon alleges, that Merchant Kings is

   5 a Sales Agent that contracted with Nuvei.

   6          105.   Plaintiff is informed and believes, and based thereon alleges, that in or about June

   7 2020, Electronic Commerce boarded a large number of merchant accounts that were either

   8 previously at Nuvei or had applied for merchant services at Nuvei that were referred to Nuvei by

   9 Merchant Kings.

  10          106.   Plaintiff is informed and believes, and based thereon alleges, that Electronic

  11 Commerce made payments to Merchant Kings by wire transfer and by using Electronic Commerce

  12 credit cards.

  13          107.   In or around July 2020, Ponder presented an offer to Plaintiff in which Plaintiff would

  14 reduce his 50% ownership interest in Electronic Commerce to 10% to allow Lakatos and Allan

  15 Lacoste to have an ownership interest in Electronic Commerce. Ponder told Plaintiff that if he did

  16 not accept this offer to reduce his ownership interest in Electronic Commerce, Ponder he would

  17 dwindle Electronic Commerce’s assets to zero. Plaintiff refused the offer.

  18          108.   In or around July 2020, Ponder, Lakatos, Neuroth and others at the direction of each

  19 of them blocked Plaintiff’s access to Electronic Commerce’s ADP payroll account, First Data

  20 account (the processing platform) and Access One account.

  21          109.   Plaintiff is informed and believes, and based thereon alleges, that in or around July

  22 2020, Ponder, Lakatos and Neuroth changed the terms and conditions for Electronic Commerce’s

  23 merchants to include an “inactivity fee” charging merchants 1% fee based of their proposed volume

  24 regardless of whether the merchant processed the proposed volume.

  25          110.   Plaintiff is informed and believes, and based thereon alleges, that the inactivity fee

  26 was not agreed to by merchants and is not in compliance with the Card Brand and CBCal policies.

  27          111.   Plaintiff is informed and believes, and based thereon alleges, that in or around July

  28 2020, Ponder, Lakatos, Neuroth and others began sending Electronic Commerce confidential

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   1 information to prospective sponsoring banks, including BBVA and The Bancorp Bank and caused

   2 Electronic Commerce to make payments to these banks.

   3          112.   Plaintiff is informed and believes, and based thereon alleges, that that Ponder,

   4 Lakatos and Neuroth caused Electronic Commerce to make significant payments to third parties that

   5 Plaintiff had no knowledge of, and that Electronic Commerce did not receive value in return for the

   6 payments.

   7          113.   Plaintiff is informed and believes, and based thereon alleges, that beginning in or

   8 around July 2020, Ponder, Lakatos and Neuroth directing employees of Electronic Commerce to not

   9 communicate with Plaintiff.

  10          114.   Plaintiff is informed and believes, and based thereon alleges, that Ponder, Lakatos

  11 and Neuroth were ignoring CBCal’s communications concerning merchants that had exceeding the

  12 bank’s volume limits, chargeback limits and fraud claims.

  13          115.   Plaintiff is informed and believes, and based thereon alleges, that Ponder, Lakatos

  14 and Neuroth knowingly caused Electronic Commerce to contract with merchants that were not

  15 permitted under CBCal’s policies and its contract with Electronic Commerce.

  16          116.   Plaintiff is informed and believes, and based thereon alleges, that rather than address

  17 CBCal’s concerns, Ponder, Lakatos and Neuroth attempted to work around CBCal’s policies and

  18 contractual requirements and “out slick” CBCal, all without Plaintiff’s knowledge and specially

  19 excluding Plaintiff from addressing CBCal’s concerns.

  20          117.   Plaintiff is informed and believes, and based thereon alleges, that Ponder, Lakatos

  21 and Neuroth caused Electronic Commerce to sign up, from another credit card processor that was

  22 in receivership, merchants with histories of substantial chargebacks and creditor card fraud claims.

  23          118.   Plaintiff is further informed and believes, and based thereon alleges, that in or around

  24 June 2020, Ponder, Lakatos and Neuroth without Plaintiff’s knowledge or consent, caused

  25 Electronic Commerce to obtain a federal government “Paycheck Protection Program” loan and

  26 Plaintiff has never been informed on how the proceeds of the loan were used.

  27          119.   Plaintiff is informed and believes, and based thereon alleges, that Ponder, Lakatos

  28 and Neuroth caused Electronic Commerce to file lawsuits against merchants without Plaintiff’s

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   1 knowledge or consent, and that Electronic Commerce had been sued by merchants, but Plaintiff had

   2 no knowledge of the lawsuits because Ponder had turned off Plaintiff’s Electronic Commerce email

   3 account and otherwise prevented Plaintiff from obtaining information about the lawsuits.

   4          120.    Plaintiff is informed and believes, and based thereon alleges, that Ponder directed

   5 Electronic Commerce’s legal counsel, Venable LLP, to not provide Plaintiff legal invoices and other

   6 information regarding Venable’s representation of Electronic Commerce.

   7          121.    Ponder, Lakatos and Neuroth prevented and otherwise blocked Plaintiff from

   8 accessing Electronic Commerce’s books and records, computer systems and computer files. Plaintiff

   9 is informed and believes, and based thereon alleges, that Ponder appointed Neuroth as an officer of

  10 Electronic Commerce and instructed Neuroth and other staff to not communicate with Plaintiff.

  11          122.    Plaintiff is informed and believes, and based thereon alleges, that Ponder, Lakatos

  12 and Neuroth prevented Plaintiff from accessing or using the customer relationship management

  13 system at Electronic Commerce impairing Plaintiff’s ability to bring new merchants to Electronic

  14 Commerce.

  15          123.    Plaintiff is informed and believes, and based thereon alleges, that Ponder, Lakatos

  16 and Neuroth prevented Plaintiff from signing up new merchant accounts with Electronic Commerce.

  17          124.    Plaintiff is informed and believes, and based thereon alleges, that Ponder, Lakatos

  18 and Neuroth has prevented and otherwise blocked Plaintiff from communicating with Electronic

  19 Commerce employees or persons working on behalf of Electronic Commerce and has directed

  20 Electronic Commerce employees and staff to ignore Plaintiff and his requests.

  21          125.    Plaintiff is informed and believes, and based thereon alleges, that beginning in or

  22 around April 2020 and continuing through about February 2021, Ponder, Neuroth and others

  23 directed on numerous occasions that one Electronic Commerce’s merchants, Diamond Digital

  24 Marketing LLC dba Audien Hearing, to open up new merchant accounts under another LLC name.

  25 Plaintiff is further informed and believes, and based thereon alleges, that Ponder, Neuroth and others

  26 specifically and repeated they told Audien Hearing to open new accounts that it was proper to do

  27 this, it would not cause any problems and was compliant with credit card processing norms.

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   1          126.   Plaintiff is further informed and believes, and based thereon alleges, that in or around

   2 June 2020 Ponder, Lakatos and Neuroth blocked or otherwise “turned off” Plaintiff’s access to

   3 Electronic Commerce’s payroll system, including representing to the payroll provider that Ponder

   4 was the sole owner of Electronic Commerce, to conceal from Plaintiff the exorbitant amounts

   5 Electronic Commerce was paying officers, including Lakatos, Neuroth and Allan Lacoste.

   6          127.   Plaintiff is further informed and believes, and based thereon alleges, that to conceal

   7 from Plaintiff the amounts Electronic Commerce was paying officers such as Allan Lacoste and

   8 John Lakatos Ponder, Lakatos and Neuroth paid officers from Electronic Commerce’s operating

   9 accounts.

  10          128.   Plaintiff is further informed and believes, and based thereon alleges, that Ponder,

  11 Lakatos and Neuroth are causing Electronic Commerce to pay exorbitant salaries and commissions

  12 to officers and employees of Electronic Commerce.

  13          129.   Plaintiff is further informed and believes, and based thereon alleges, that in or around

  14 September 2020, Ponder, without the knowledge or consent of Plaintiff, appointed Daly as an officer

  15 of Electronic Commerce with a $20,000 monthly salary and commissions that far exceeded industry

  16 norms.

  17          130.   Plaintiff is further informed and believes, and based thereon alleges, that Daly was

  18 and remains a partner and officer of Capri Payments, a competitor of Electronic Commerce, and

  19 that Daly conducted operations of Capri Payments at Electronic Commerce’s offices.

  20          131.   Ponder appointed Daly and hired others despite Plaintiff’s specific and express

  21 direction that Ponder not hire highly compensated employees or appoint officers without his express

  22 consent and agreement.

  23          132.   On October 21, 2020, Defendant Daly canceled Tangram Payments, LLC with the

  24 California Secretary of State, the entity he presented to CBCal in November 2019.

  25          133.   On April 6, 2021, Daly created another California limited liability company, again

  26 named Tangram Payments LLC.

  27          134.   On April 13, 2021, Tangram Payments LLC filed a fictitious business statement with

  28 the County of Orange to do business as “Tangram.”

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   1         135.    Then, on May 14, 2021, Daly canceled Tangram Payments LLC with the California

   2 Secretary of State again.

   3         136.    Defendants, however, were operating, and continue to operation Tangram as a

   4 payment processing company from the 4100 Newport Place Drive address at which both Electronic

   5 Commerce and Ecommerce SAAS are also supposedly located, and Ponder has admitted,

   6 Ecommerce SAAS, through 488 Marque Trust, that is doing business as Tangram. In fact, on June

   7 1, 2021, the Newport Beach Chamber of Commerce posted a photograph to its Facebook page

   8 welcoming its “new member,” Tangram Payments. The photograph shows Ponder, Lakatos,

   9 Neuroth, with others, standing in Tangram’s lobby. Furthermore, the current company website is

  10 “tangrampayments.com,” the same website address as contained in the business plan Daly submitted

  11 to CBCal for Tangram in November of 2019.

  12         137.    Plaintiff is further informed and believes, and based thereon alleges, that in or around

  13 September 2020, Electronic Commerce, under Ponder’s, Lakatos’ and Neuroth’s control, continued

  14 to contract with merchants that exceed CBCal’s volume, chargeback and fraud limits resulting in

  15 CBCal requiring the termination of merchant contracts and fines.

  16         138.    Plaintiff is informed and believes, and based thereon alleges, that on or about

  17 November 21, 2019, Carnevale formed Beyond Patriots LLC in the State of New Jersey.

  18         139.    Plaintiff is informed and believes, and based thereon alleges, that on March 20, 2021,

  19 Carnevale formed MCMG Group LLC with the State of New Jersey with the same address, except

  20 for the box number, as Beyond Patriots LLC. Plaintiff is further informed and believes, and based

  21 thereon alleges, that that MCMG Group LLC does business as Red Freedom Market.

  22         140.    Plaintiff is informed and believes, and based thereon alleges, that on September 18,

  23 2020, Carnevale formed Liberty Productions LLC in the state of California.

  24         141.    Plaintiff is informed and believes, and based thereon alleges, that November 4, 2020,

  25 Carnevale formed VVV Projects LLC in the state of Arizona.

  26         142.    Plaintiff is informed and believes, and based thereon alleges, that Liberty

  27 Productions does business as USA Liberty Shop, which has received a number of complaints for

  28 fraudulent credit card charges.

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   1          143.   On December 1, 2020, 488 Club LLC, an Arizona limited liability company was

   2 formed with Ponder, Lakatos and Carnavele identified as the principals.

   3          144.   Plaintiff is informed and believes and based thereon alleges that Beyond Patriots,

   4 USA Liberty Shop, and Veteran Support Now are all merchants who processed card charges through

   5 Electronic Commerce whose accounts CBCal ordered closed due to excessive fraud and

   6 chargebacks.

   7          145.   Plaintiff is informed and believes and based thereon alleges that Red Freedom

   8 Market has charged more than 11,000 cards previously charged by Veteran Support Now, over 6,700

   9 cards previously charged by Beyond Patriots, and over 10,000 cards previously charged by USA

  10 Liberty Shop.

  11          146.   Plaintiff is informed and believes and based thereon alleges that Red Freedom

  12 Market, Veteran Support Now, Beyond Patriots, and USA Liberty Shop is entities being used to

  13 process fraudulent transactions through Electronic Commerce as part of the conspiracy, alleged

  14 herein, and through which Ponder, Lakatos, Neuroth, Daly and Carnavele are funneling funds to

  15 Tangram.

  16          147.   Plaintiff is informed and believes and based thereon alleges that Ponder and Lakatos

  17 have been embezzling funds from Electronic Commerce through the creation of fraudulent accounts

  18 and phony transactions intended to disguise the theft, and that Defendants have been laundering the

  19 stolen funds through other entities with the assistance of Carnevale, who is a member on 488 Club

  20 LLC with Ponder and Lakatos.

  21          148.   On or about September 23, 2021, CBCal sent a letter to Electronic Commerce

  22 addressed to Ponder as Chief Managing Officer demanding compliance with Commercial Banks

  23 policies and the Processing Agreement (“Non-compliance Letter”).

  24          149.   The Non-compliance letter stated CBCal’s “grave concern” that Electronic

  25 Commerce had “evidenced a continued pattern and practice of boarding merchants that have been

  26 declined for processing by Commercial Bank of California, then processing transactions from those

  27 merchants using CBC’s BIN/ICA.” CBCal also stated: “Moreover, when directed by CBC

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   1 associates to terminate the declined merchants, Electronic Commerce has failed to close most of

   2 those merchants in a timely manner, and in some cases has yet to close them at all.”

   3          150.   The Non-compliance Letter stated further: “This behavior is unacceptable and must

   4 cease at once. While it seems absurd to reference a provision in our Agreement to point out that

   5 boarding declined merchants is a default, §7.2 comes to mind. There may be others. Nevertheless,

   6 it is also a violation of Card Association Rules. You are directed to close all merchants on the

   7 attached list within 15 days from the date of this letter and notify the Bank immediately upon

   8 complying. Failure to do so within the required cure period will result in referral of this matter to

   9 outside counsel and an examination of all remedies available to the Bank, including but not limited

  10 to termination of sponsorship.”

  11          151.   CBCal also addressed Electronic Commerce’s repeated and ongoing failure to

  12 respond to communications from CBCal’s employees, stating: “Additionally, failure to reply to

  13 ongoing communications from Bank staff regarding operational matters within a reasonably timely

  14 fashion will also result in immediate escalation to outside counsel, and examination/exercise of

  15 remedies.”

  16          152.   CBCal further instructed Electronic Commerce to “implement controls sufficient to

  17 ensure that no merchants are boarded which is declined for processing by CBC, and to close declined

  18 merchants who were boarded immediately upon discovery by Electronic Commerce or notification

  19 by CBC.”

  20          153.   On or about October 8, 2020, Ponder responded to CBCal, without including,

  21 consenting with, or otherwise conferring with me. Ponder denied the assertions of CBCal and then

  22 asserted that Electronic Commerce would seek to transfer its business to another sponsoring bank.

  23          154.   Plaintiff is further informed and believes, and based thereon alleges, that Ponder,

  24 Lakatos and Neuroth nonetheless, ignored CBCal’s requests continuing to enter into contracts with

  25 merchants that had substantial chargeback and fraud claims.

  26          155.   Plaintiff is informed and believes, and based thereon alleges, that knowing CBCal’s

  27 concerns about compliance with the MMPA, in or about October 2020, Ponder, Lakatos and Neuroth

  28 knowingly, without the knowledge or consent of Plaintiff, signed up “RagingBull.com” as a new

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   1 merchant despite the fact that the amount of volume processed by Ragingbull.com substantially

   2 exceeded the volume limits with CBCal and the fact that RaginBull.com was facing a complaint by

   3 the Federal Trade Commission for fraud seeking $137 million damages.

   4          156.    Plaintiff is informed and believes, and based thereon alleges, that the

   5 RagingBull.com account resulted in about $400,000 in chargebacks, other losses by Electronic

   6 Commerce, and further complaints by CBCal about non-compliance with the MMPA. Plaintiff is

   7 further informed and believes, and based thereon alleges, that Ponder, Lakatos and Neuroth ignored

   8 the complaints and questions from CBCal and directed Electronic Commerce staff members to not

   9 respond to Commercial Bank’s inquiries.

  10          157.    Plaintiff is informed and believes, and based thereon alleges, that continuing in

  11 October 2020, Electronic Commerce, under Ponder’s, Lakatos’ and Neuroth’s control, Electronic

  12 Commerce was contracting with merchants that were on CBCal’s “restricted list”.

  13          158.    In or about November 2020, Plaintiff, through counsel, made a request to inspect

  14 Electronic Commerce’s books and records, and a demand for mediation under the terms of the LLC

  15 Agreement.

  16          159.    Plaintiff is further informed and believes, and based thereon alleges, that in response

  17 to the request inspect the books and records, Ponder, Lakatos and Neuroth terminated Plaintiff’s

  18 access to Electronic Commerce’s credit card accounts to conceal information regarding Electronic

  19 Commerce’s expenses, payments, and general finances from Plaintiff.

  20          160.    Plaintiff did not receive the information, documents and access to Electronic

  21 Commerce’s books and records to which he is entitled as a co-equal member of Electronic

  22 Commerce.

  23          161.    Plaintiff is informed and believes, and thereon alleges, that Ponder, Lakatos and

  24 Neuroth has prevented any of Electronic Commerce’s financial reports, including profit and loss,

  25 balance sheets and financial statements, from being sent to Plaintiff, and that Electronic Commerce

  26 has not in recent years filed its federal and state tax returns.

  27          162.    Plaintiff is further informed and believes, and based thereon alleges, that in or around

  28 November 2020, Electronic Commerce, at Ponder’s, Lakatos’ and Neuroth’s direction, continued to

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   1 make payments to Merchant Kings despite Plaintiff’s request that payments to Merchant Kings

   2 cease.

   3          163.   Plaintiff is informed and believes, and based thereon alleges, that in or around

   4 November 2020, Electronic Commerce, at Ponder’s, Lakatos’ and Neuroth’s direction and without

   5 the consent or knowledge of Plaintiff, began making significant changes to the terms and conditions

   6 of Electronic Commerce’s merchant contract, including adding an excessive termination fee.

   7          164.   Plaintiff is further informed and believes, and based thereon alleges, that Ponder,

   8 Lakatos and Neuroth would sign “high risk” merchants with the knowledge and expectation that

   9 CBCal would soon discovery that the merchants did not meet its underwriting requirements and

  10 require Electronic Commerce to terminate the merchant contract which in turn would entitle

  11 Electronic Commerce to the newly increased termination fee.

  12          165.   On or about November 17, 2020, less than 1 month after Daly cancelled Tangram

  13 Payments LLC, Ecommerce SAAS LLC doing business as Tangram (“Tangram”) was formed under

  14 the laws of the State of Arizona identifying 488 Marque Trust as the sole owner.

  15          166.   Lakatos signed a declaration under penalty of perjury that he, Ponder, and Joe Daly

  16 is the ultimate owners of “Tangram Payments.”

  17          167.   Ponder signed a declaration under penalty of perjury that Ecommerce SAAS LLC

  18 does business as “Tangram Payments”.

  19          168.   Plaintiff is further informed and believes, and based thereon alleges, that Tangram is

  20 a credit card processor and competitor of Electronic Commerce.

  21          169.   Plaintiff is informed and believes, and based thereon alleges, that since about

  22 November 2020, Ponder has been and remains the Chief Managing Officer of Tangram, Daly has

  23 been and remains an officer of Tangram, Lakatos has been and remains the Chief Revenue Officer

  24 of Tangram, Neuroth has been and remains the Chief Operating Officer of Tangram.

  25          170.   For many years Electronic Commerce’s principal place of business and headquarters

  26 was located at 1 City Blvd W Ste. 1850, Orange, California.

  27          171.   In or about November 2020, Defendants moved Electronic Commerce’s place of

  28 operations and headquarters to 4100 Newport Place Drive, Suite 500, Newport Beach California by

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   1 entering a seven-year lease at about $35,000 per month without ever discussing the move or the new

   2 lease with Plaintiff, the co-equal member of Electronic Commerce, and without obtaining his

   3 consent.

   4          172.   Plaintiff is informed and believes, and based thereon alleges, that Defendants caused

   5 Electronic Commerce to spend substantial amounts of money purchasing new office equipment,

   6 furniture, and tenant improvements for Electronic Commerce’s new office space.

   7          173.   Plaintiff is informed and believes, and based thereon alleges, that since moving

   8 Electronic Commerce to the new location, Defendants have refused to grant Plaintiff access to the

   9 Electronic Commerce’s offices and has affirmatively prevented Plaintiff from entering or accessing

  10 the Electronic Commerce’s offices.

  11          174.   Plaintiff is informed and believes, and based thereon alleges, that Tangram operates

  12 its business directly competing with Electronic Commerce at Electronic Commerce’s newly leased

  13 premises.

  14          175.   Plaintiff, a co-equal member and 50% owner of Electronic Commerce does not have

  15 access to the Electronic Commerce’s offices and does not have a key or other security access to the

  16 Electronic Commerce’s offices.

  17          176.   In December 2020, Plaintiff was denied access into Electronic Commerce’s offices

  18 by Ponder, Lakatos, Neuroth and others.

  19          177.   In December 2020, Plaintiff and Ponder participated in a mediation that did not result

  20 in a resolution, in part, because Ponder failed and refused to provide Plaintiff access to Electronic

  21 Commerce’s books and records so that he could evaluate offers.

  22          178.   Plaintiff is informed and believes, and based thereon alleges, that the mediation failed

  23 because Ponder and Defendants had already put in place an orchestrated scheme to deplete the assets

  24 of Electronic Commerce, cause the termination of the MMPA, and transfer Electronic Commerce’s

  25 assets, employees, and merchants to Tangram.

  26          179.   Plaintiff is informed and believes, and based thereon alleges, that in early 2021

  27 Ponder purportedly appointed himself as the “Chief Executive Officer” of Electronic Commerce,

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   1 without the consent of Plaintiff, and presented himself to CBCal, merchants, new prospective

   2 sponsoring banks, and others as the Chief Executive Officer of Electronic Commerce.

   3          180.    On December 8, 2020, OFI SAAS, LLC, an Arizona limited liability company was

   4 formed with 488 Marque Trust as the sole member.

   5          181.    Plaintiff is informed and believes, and based thereon alleges, that Ponder, Lakatos

   6 and Joe Daly is the ultimate owners of OFI SAAS, LLC.

   7          182.    488 Marque Trust is the sole member of OFI SAAS and Ecommerce SAAS, which

   8 Plaintiff is informed and believes, and based thereon alleges, is operating as Tangram.

   9          183.    On December 15, 2020, an unsigned Statement of Information was filed with the

  10 California Secretary of State on behalf of Electronic Commerce identifying Electronic Commerce’s

  11 business address as “4100 Newport Place Drive, Ste. 500, Newport Beach, California.”

  12          184.    On or about February 22, 2021, Tangram registered with the State of California as a

  13 foreign limited liability company with its principal place of business at the 4100 Newport Place

  14 Drive, Suite 500, Newport Beach, California.

  15          185.    Plaintiff is informed and believes, and based thereon alleges, that Defendants sought

  16 to enter in agreement with The Bancorp Bank as a sponsoring bank. Plaintiff is further informed

  17 and believes, and based thereon alleges, that Defendants presented to Bancorp the operational

  18 history of Electronic Commerce, Electronic Commerce’s books and records, Electronic

  19 Commerce’s corporate structure, excluding Plaintiff, and caused Electronic Commerce to pay a fee

  20 to Bancorp for the purpose of entering a sponsoring bank agreement with Bancorp, but not for the

  21 benefit of Electronic Commerce, but instead for the benefit of Tangram and Defendants.

  22          186.    After Plaintiff rejected Ponder’s effort to reduce Plaintiff’s ownership in Electronic

  23 Commerce from 50% to 10%, in or about February 2021, Ponder presented an offer from Hiep Tran

  24 to purchase Electronic Commerce for about $4 million. Plaintiff is informed and believes, and

  25 thereon alleges, that Hiep Tran has a personal and business relationship with Daly. Plaintiff declined

  26 the offer. Plaintiff was unable to evaluate the offer because he did not have access to Electronic

  27 Commerce’s books and records.

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   1          187.    Soon after Plaintiff rejected the offer to purchase Electronic Commerce from Hiep

   2 Tran, Ponder drafted a letter of intent and presented it to Plaintiff in which Plaintiff could purchase

   3 Electronic Commerce for $2,000 but without any operations. Ponder gave Plaintiff 24 hours to

   4 accept to offer. Plaintiff declined the offer.

   5          188.    Ponder then presented another offer to Plaintiff in which Plaintiff would hold a

   6 minority interest in a new company owned by Ponder, Joe, Lakatos, and Hiep Tran. Plaintiff

   7 declined this offer.

   8          189.    Plaintiff is informed and believes, and based thereon alleges, that in or about March

   9 2020, Ponder assigned the lease for Electronic Commerce’s offices to Tangram.

  10          190.    Plaintiff is informed and believes, and based thereon alleges, that in or about March

  11 2020, Ponder, Lakatos, and Neuroth transferred the employees and staff of Electronic Commerce to

  12 Tangram.

  13          191.    Plaintiff is informed and believes, and based thereon alleges, that since about March

  14 2020, the independent sales representatives that refer merchants to Electronic Commerce are no

  15 longer being paid their “residuals” from Electronic Commerce, but instead is paid by OFI SAAS.

  16          192.    Plaintiff is informed and believes, and based thereon alleges, that since about March

  17 2020, Electronic Commerce’s employees are paid by OFI SAAS.

  18          193.    Plaintiff is informed and believes, and based thereon alleges, that since about June

  19 2020, the independent sales representatives that refer merchants to Electronic Commerce have been

  20 directed by Ponder, Lakatos, Neuroth and others, that all new merchant contracts must be submitted

  21 to Tangram and not Electronic Commerce.

  22          194.    Plaintiff is informed and believes, and based thereon alleges, that Ponder, Lakatos

  23 and Neuroth is redirecting money from Electronic Commerce’s settlement account at First Data, to

  24 accounts under the control of Tangram, OFI SAAS, LLC, or other entities under the control of

  25 Defendants.

  26          195.    Plaintiff is informed and believes, and based thereon alleges, that Ponder, Lakatos

  27 and Neuroth engaged without the consent of Plaintiff, a business broker, “Portfolio Buyer,” to sell

  28 Electronic Commerce assets.

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   1          196.   On or about June 16, 2021, CBCal sent Notice of Termination and Notice of Updated

   2 Company Reserve Requirements letter (“Termination Notice”) to Electronic Commerce. Ponder,

   3 Lakatos and Neuroth failed and refused to send the Termination Notice to Plaintiff or make him

   4 aware of its existence for several weeks after it was received.

   5          197.   The Termination Notice states that termination of the MMPA will take effect on

   6 December 20, 2021. CBCal also requested in the Termination Notice that it “repeats its demands

   7 that Electronic Commerce (i) fully comply with the TPPP Guidelines in force, (ii) fully comply with

   8 the Fraud Action Plan requirements, (iii) close and cease processing for all merchants onboarded on

   9 transacting which is inconsistent with CBCal’s policies and requirements, and (iv) fully comply

  10 with all past and future requests and instructions given by CBCal.”

  11          198.   Plaintiff is informed and believes, and based thereon alleges, that Ponder, Lakatos

  12 and Neuroth have deliberately operated Electronic Commerce out of compliance with the MMPA

  13 and CBCal’s policies so that CBCal would terminate the MMPA, and they could transfer Electronic

  14 Commerce’s merchants to Tangram.

  15          199.   On or about June 30, 2021, CBCal sent a letter to Electronic Commerce regarding

  16 reserve account calculations notifying Electronic Commerce that pursuant to the MMPA and the

  17 Termination Notice that Electronic Commerce must increase the amounts it holds in reserve.

  18          200.   Because CBCal has given the Termination Notice, Electronic Commerce has until

  19 December 20, 2021, to either transfer its business to a new sponsoring bank or to resolve its issues

  20 with CBCal such that it will rescind the Termination Notice.

  21          201.   Plaintiff is informed and believes, and based thereon alleges, that receiving the

  22 Termination Notice, Ponder, Lakatos and Neuroth have continued to sign up new customers with

  23 Tangram rather than Electronic Commerce.

  24          202.   Plaintiff is informed and believes, and based thereon alleges, that sales

  25 representatives are being directed by Ponder, Lakatos and Neuroth that any new merchants that they

  26 attempt to enter into credit card processing agreements for Electronic Commerce must be signed up

  27 as Tangram customers, not Electronic Commerce.

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   1          203.    On July 20, 2021, Judge Gregory Lewis of the Superior Court of the State of

   2 California for the County of Orange, entered the Order Granting Plaintiff’s Ex Parte Application for

   3 Temporary Restraining Order (the “TRO”).

   4          204.    On July 21, 2021, Plaintiff sent an email to Ponder with a copy of the TRO and

   5 requesting compliance and access to Electronic Commerce’s books and records. Ponder did not

   6 grant Plaintiff access and still has failed and refused to do so.

   7          205.    On July 22, 2021, Plaintiff and his counsel, Rod Pacheco, were prevented from

   8 entering Electronic Commerce’s offices after presenting the TRO to Ponder, Lakatos and Neuroth

   9 and others, and were not given access to any of the books and records of Electronic Commerce.

  10          206.    Ponder, denied Plaintiff access to Electronic Commerce’s offices despite stating in a

  11 declaration under penalty of perjury that: “Electronic Commerce, LLC's current operations consist

  12 of only servicing existing merchant accounts, monitoring risk, pursuing debts, and protecting the

  13 existing revenue stream. All of these functions are performed by me and the staff that I pay for under

  14 a separate entity, Ecommerce SAAS, LLC dba "Tangram Payments."”

  15          207.    On August 9, 2021, the Court in California denied Plaintiff’s request for a

  16 preliminary injunction refusing to exercise jurisdiction over the case.

  17          208.    On August 19, 2021, counsel for Plaintiff sent a letter to Portfolio Buyer demanding

  18 that it cease and desist any marketing of and attempts to sell Electronic Commerce assets.

  19          209.    Plaintiff is informed and believes, and based thereon alleges, that numerous

  20 merchants and their attorneys have submitted complaints to Electronic Commerce and CBCal about

  21 Electronic Commerce’s conduct, including improper termination of contracts, excessive termination

  22 fees, refusal to return reserves, reserve accounts with less money that merchants believes should be

  23 there, and failure to allow merchants to process returns and chargebacks for customers.

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   1                                    FIRST CAUSE OF ACTION

   2                                  (Fraud – Against All Defendants)

   3          210.   Plaintiff incorporates by reference as though fully set forth herein the allegations in

   4 Paragraphs 1 through 209 of this Complaint.

   5          211.   At all relevant times, Ponder was an officer and/or a controlling member of

   6 Electronic Commerce.

   7          212.   At all relevant times, Lakatos was an officer of Electronic Commerce.

   8          213.   At all relevant times, Neuroth was an officer of Electronic Commerce

   9          214.   As herein alleged, Defendants formed a conspiracy to steal the assets of Electronic

  10 Commerce for their own benefit and deprive Plaintiff of the benefits of his ownership interests in

  11 Electronic Commerce.

  12          215.   In furtherance of that conspiracy, Defendants engaged in numerous fraudulent and

  13 deceitful acts, including, among others: (1) The submission of knowingly false information and/or

  14 altered documents to CBCal in conjunction with its evaluation of             Electronic Commerce’s

  15 merchants; (2) The formation and presentation of Tangram as a legitimate competitor of Electronic

  16 Commerce, which was, and is, untrue; (3) The concealment of Defendant Lakatos’s employment

  17 with Electronic Commerce while still employed at CBCal; (4) The concealment of the formation of

  18 various entities, and of the true nature of those entities, into which Electronic Commerce’s stolen

  19 assets were stashed and through which Defendants attempted to launder said funds; (5) The

  20 concealment of alterations to Electronic Commerce’s contractual documents with the intent of

  21 stealing funds from the reserve accounts of Electronic Commerce’s merchants; (6) The use of fake

  22 transactions to deplete Electronic Commerce’s merchant settlement account; (7) The concealment

  23 of the diversion of Electronic Commerce’s potential merchant customers to Tangram; and (8) The

  24 diversion of revenue generated by Electronic Commerce’s merchants from Electronic Commerce to

  25 Defendants.

  26          216.   Defendants acted with knowledge that their conduct was wrongful, that the

  27 information and/or documents supplied was false, and/or that they had concealed facts that Plaintiff

  28 had a right to know.

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   1          217.    Defendants intended to induce Plaintiff’s reliance on the facts presented to it, and to

   2 conceal from Plaintiff the true facts, so that Defendants could divert new customers, transfer existing

   3 customers, and divert money from Electronic Commerce to Defendants.

   4          218.    When Plaintiff raised concerns about the onboarding of high risk clients, the

   5 relationship with CBCal, the diversion of customers to Tangram, the payment of funds to third

   6 parties with no benefit to Electronic Commerce, Ponder, Lakatos, Neuroth and those under their

   7 supervision told Plaintiff that it was under control, that the situation was being handled.

   8          219.    When Plaintiff raised concerns about merchants complaining about confiscation of

   9 their reserves, he was told by Ponder, Lakatos, Neuroth and those acting under their supervision that

  10 the merchant complaints were being addressed.

  11          220.    When Plaintiff raised concerns about the imposition of an “inactivity fee” and the

  12 increase of the “termination fee” in the terms of conditions for merchant contracts, Plaintiff was told

  13 by Ponder, Lakatos, Neuroth and those acting under their supervision that these fees were

  14 appropriate, that he did not understand operations, and that CBCal’s concerns about these fees were

  15 being addressed.

  16          221.    Plaintiff reasonably relied on the facts and information Defendants presented to him

  17 and had no knowledge of the true facts concealed from it.

  18          222.    As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

  19 monetary damages in a sum that cannot be determined with certainty at this time. Plaintiff prays for,

  20 and if necessary, will seek, leave to amend this complaint to allege the amount of damages when

  21 said amount is determined.

  22          223.    In carrying out the acts alleged herein, Defendants acted maliciously and

  23 oppressively, in that they intended to cause injury to Plaintiff and/or engaged in despicable conduct

  24 carried out with a willful and conscious disregard of Plaintiff’s rights, and Defendants acted

  25 fraudulently, in that they engaged in the misrepresentations, deception, and concealment of material

  26 facts and/or information with the intent causing Plaintiff injury and/or depriving him of his property

  27 and/or rights. Defendants is therefore liable to Plaintiff for punitive damages.

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   1                                    SECOND CAUSE OF ACTION

   2          (Intentional Interference with Contractual Relations – Against All Defendants)

   3          224.    Plaintiff incorporates by reference as though fully set forth herein the allegations in

   4 Paragraphs 1 through 209 of this Complaint.

   5          225.    As alleged herein, Electronic Commerce and Electronic Commerce entered into the

   6 MMPA. Defendants knew that CBCal and Electronic Commerce were parties to an ongoing

   7 contractual relationship.

   8          226.    Defendants formed a conspiracy to disrupt and/or destroy the relationship between

   9 CBCal and Electronic Commerce for their own financial benefit. As alleged herein, the conspiracy

  10 was designed to allow Defendants to steal Electronic Commerce’s assets—including not only cash,

  11 but also business opportunities, employees and more—while at the same time creating liabilities for

  12 Electronic Commerce through the theft of merchant funds and the use of fraudulent transactions to

  13 improperly deplete the merchant reserve account. Defendants knew, at all relevant times, that

  14 Electronic Commerce would and will be responsible for certain liabilities and intentionally depleted

  15 Electronic Commerce’s assets, including its reserve account, to leave CBCal with insufficient funds

  16 on deposit to cover said liabilities.

  17          227.    Defendants, to the extent they were corporate agents or employees of Electronic

  18 Commerce, were not acting for or on behalf of Electronic Commerce when taking the actions alleged

  19 herein, but, rather, were acting for or on behalf of Tangram and for its and their financial benefit.

  20 Furthermore, the Defendants who is or were owners, directors, and/or officers of Electronic

  21 Commerce were acting for their own personal benefit, not that of Electronic Commerce, in taking

  22 the actions alleged herein.

  23          228.    Defendants intended to interfere with the contractual relationship between CBCal

  24 and Electronic Commerce—said disruption being a necessary and unavoidable result of Defendants’

  25 conspiracy—and acted with knowledge that such interference would result from their conduct. As

  26 herein alleged, Defendants’ conduct substantially disrupted the contractual relationship between

  27 CBCal and Electronic Commerce for many months and ultimately caused CBCal to terminate the

  28 MMPA.

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   1          229.    Prior to Defendants’ fraudulent actions, Electronic Commerce had performed its

   2 obligations under the MMPA and were it not for Defendants’ conspiratorial interference Electronic

   3 Commerce would have continued to do so.

   4          230.    As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

   5 monetary damages in a sum of at least $10,000,000.

   6          231.    In carrying out the acts alleged herein, Defendants acted maliciously and

   7 oppressively, in that they intended to cause injury to Plaintiff and/or engaged in despicable conduct

   8 carried out with a willful and conscious disregard of Plaintiff’s rights, and Defendants acted

   9 fraudulently, in that they engaged in the misrepresentations, deception, and concealment of material

  10 facts and/or information with the intent causing Plaintiff injury and/or depriving it of its property

  11 and/or rights. Defendants are therefore liable to Plaintiff for punitive damages.

  12                                     THIRD CAUSE OF ACTION

  13           (Interference with Prospective Economic Relations – Against All Defendants)

  14          232.    Plaintiff incorporates by reference as though fully set forth herein the allegations in

  15 Paragraphs 1 through 209 of this Complaint.

  16          233.    Plaintiff derived an economic benefit from its contractual relationship with CBCal,

  17 and were it not for Defendants’ tortious actions, Plaintiff would have continued to derive that benefit

  18 in the future.

  19          234.    Defendants knew that there was an ongoing economic relationship with CBCal, and,

  20 as herein alleged, Defendants conspired to disrupt and/or destroy that relationship for their own

  21 personal financial benefit. The acts of Defendants, in so doing, were independently wrongful.

  22          235.    As herein alleged, Defendants’ conduct substantially disrupted the economic

  23 relationship between CBCal and Electronic Commerce for many months and ultimately caused

  24 CBCal to terminate the MMPA.

  25          236.    As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

  26 monetary damages in a sum of at least $10,000,000.

  27          237.    In carrying out the acts alleged herein, Defendants acted maliciously and

  28 oppressively, in that they intended to cause injury to Plaintiff and/or engaged in despicable conduct

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   1 carried out with a willful and conscious disregard of Plaintiff’s rights, and Defendants acted

   2 fraudulently, in that they engaged in the misrepresentations, deception, and concealment of material

   3 facts and/or information with the intent causing Plaintiff injury and/or depriving it of its property

   4 and/or rights. Defendants is therefore liable to Plaintiff for punitive damages.

   5                                       FOURTH CAUSE OF ACTION

   6                  (Breach of Fiduciary Duty – Against Defendants Lakatos and Neuroth)

   7          238.   Plaintiff incorporates by reference as though fully set forth herein the allegations in

   8 Paragraphs 1 through 209 of this Complaint.

   9          239.   At all relevant times, Lakatos was an officer of ELECTRONIC COMMERCE.

  10          240.   At all relevant times, Neuroth was an officer of ELECTRONIC COMMERCE

  11          241.   As officers of Electronic Commerce, Lakatos and Neuroth owed Electronic

  12 Commerce and its members, including Plaintiff fiduciary duties of loyalty, care, honesty, and a duty

  13 to discharge their duties in good faith, with the care an ordinary prudent person in a like position

  14 would exercise, and in a manner, he reasonably believed to be in Electronic Commerce’s and

  15 Plaintiff’s best interests. Lakatos and Neuroth were in positions of trust with Electronic Commerce

  16 and its members.

  17          242.   Lakatos and Neuroth each owed members of Electronic Commerce, including

  18 Plaintiff, the fiduciary duty to subordinate their own self-interests to those of Electronic Commerce

  19 and its members. Each of the Lakatos and NUEROTH, at all relevant times, knew of their duties to

  20 Electronic Commerce and its members, including Plaintiff.

  21          243.   Lakatos and Neuroth each had a duty to act in the best interests of Electronic

  22 Commerce and its members and to preserve their assets for the benefit of its members, including

  23 Plaintiff.

  24          244.   Lakatos and Neuroth each had a duty of loyalty to abstain from self-dealing and the

  25 pursuit of personal interests not shared by Electronic Commerce and its members, including

  26 Plaintiff.

  27          245.   Tangram is owned by Marque Trust and Lakatos is either the trustee of Marque Trust,

  28 a beneficiary of Marque Trust, is directly related to the Marque Trust, or employed by Marque Trust.

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   1 As such, Lakatos was interested in transactions authorized and directed which did or were intended

   2 to benefit Lakatos’s interest at the expense of Electronic Commerce and Electronic Commerce’s co-

   3 member Plaintiff. As such Lakatos and the remaining Defendants were interested in any transactions

   4 which did or were intended to benefit members’ interests at the expense of Electronic Commerce

   5 and Plaintiff.

   6          246.    Lakatos and Neuroth breached their fiduciary duties by affirmatively leading

   7 Electronic Commerce and Plaintiff to believes that they continued to devote their full time, energy,

   8 and attention to his duties for Electronic Commerce. In fact, Lakatos and Neuroth devoted less than

   9 their full time, energy, and attention to their duties for Electronic Commerce and were instead

  10 devoting time, energy, and attention to competing with Electronic Commerce by directing business

  11 opportunities to themselves and their other businesses, including Tangram.

  12          247.    Plaintiff is informed and believes, and based thereon alleges, that Lakatos and

  13 Neuroth used Electronic Commerce assets and monies to purchase capital equipment for the use and

  14 benefit of Tangram and his other businesses.

  15          248.    Plaintiff is informed and believes, and based thereon alleges, that Lakatos and

  16 Neuroth used Electronic Commerce employees for the benefit of Tangram and their other

  17 businesses.

  18          249.    Plaintiff is informed and believes, and based thereon alleges, that Lakatos and

  19 Neuroth diverted business opportunities from Electronic Commerce to Tangram and their other

  20 businesses and otherwise directly competing against Electronic Commerce.

  21          250.    Plaintiff is informed and believes, and based thereon alleges, that Lakatos and

  22 Neuroth diverted corporate assets from Electronic Commerce to themselves and their other

  23 businesses.

  24          251.    At various times, defendants Does 1 through 20, became aware of Lakatos’s and

  25 Neuroth’s breaches of his duties to Electronic Commerce and Plaintiff as described herein and

  26 otherwise. Defendants’ actions in this regard were undertaken pursuant to a conspiracy formed

  27 between Defendants, which conspiracy contemplate the appropriation and misuse of Electronic

  28 Commerce’s assets and resources to advance and pursue the business enterprises of Lakatos and

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   1 Neuroth and their other businesses, including Tangram, through the misleading actions, omissions,

   2 and concealments described herein.

   3          252.   At various times after formation of the initial conspiracy, those of the Defendants

   4 who were not part of the initial conspiracy joined in that conspiracy and agreement and related acts

   5 described above. As they learned of and joined in the conspiracy, each of the Defendants ratified

   6 prior actions and agreed to actions undertaken thereafter.

   7          253.   As a result of Lakatos’s and Neuroth’s breaches of his fiduciary duties to Electronic

   8 Commerce and Plaintiff, Electronic Commerce and Plaintiff have been damaged in an amount, the

   9 precise sum of which is not presently ascertainable, but which will be proven at trial, and which

  10 Plaintiff presently believes, and based thereon alleges, to be not less than $10,000,000.

  11          254.   As a result of Lakatos’s and Neuroth’s breaches of his duties, they have been unjustly

  12 benefitted and enriched through his misappropriation of Electronic Commerce’s and Plaintiff’s

  13 assets and resources and other wrongful conduct described herein.

  14          255.   Lakatos and Neuroth committed the acts alleged herein maliciously, oppressively,

  15 and/or fraudulently under California Civil Code section 3294, meaning Lakatos’ and Neuroth’s

  16 conduct (a) was intended by them to cause injury to Electronic Commerce and Plaintiff or was

  17 despicable conduct carried on by Lakatos and Neuroth with a willful and conscious disregard of the

  18 rights or safety of others; (b) was despicable conduct that subjected Electronic Commerce and

  19 Plaintiff to cruel and unjust hardship in conscious disregard of Electronic Commerce and Plaintiff’s

  20 rights; and/or (c) amounted to intentional misrepresentation, deceit, or concealment of material

  21 information with the intention on Defendants’ part of depriving Electronic Commerce and Plaintiff

  22 of property or rights otherwise causing Electronic Commerce and Plaintiff injury. Accordingly,

  23 Lakatos’ and Neuroth’s conduct warrants the assessment of punitive damages.

  24                                        FIFTH CAUSE OF ACTION

  25                                   (Conversion – Against All Defendants)

  26          256.   Plaintiff incorporates by reference as though fully set forth herein the allegations in

  27 Paragraphs 1 through 209 of this Complaint.

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   1          257.    In committing the wrongful acts hereinabove alleged, Defendants, and each of them,

   2 seized and converted to their own uses and benefits monies, property, records, files, information,

   3 and materials of Plaintiff. The full extent of the monies, property, records, files, information, and

   4 materials seized by Defendants is not presently known to Plaintiff but is fully known to Defendants.

   5          258.    As alleged herein, Defendants, working in concert, have transferred the employees,

   6 books, and records, leased office space, customers, and monies from Electronic Commerce to

   7 Tangram, Ecommerce SAAS, OFI SAAS, 488 Club and other related entities in which Defendants

   8 have an interest.

   9          259.    Despite Plaintiff’s demands, Defendants, and each of them, have failed and refused

  10 to return said property, records, files, information, and materials to Plaintiff, and have withheld the

  11 same from Plaintiff, exercising full dominion and control for their own uses and benefits and in

  12 conscious and intentional disregard for Plaintiff’s rights.

  13          260.    As alleged herein, Defendants, working in concert, used Electronic Commerce

  14 assets, employees, and money to obtain an agreement from Bancorp to be the sponsoring bank for

  15 Tangram.

  16          261.    Plaintiff is presently entitled to sole possession, custody and control of his interest in

  17 the property, records, files, information, and materials being withheld and used by Defendants.

  18          262.    As a direct and proximate result of the conversion of said property, records, files,

  19 information, and materials, Plaintiff has suffered, and continues to suffer, damages in amounts of at

  20 least $10,000,000.

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  22                                      SIXTH CAUSE OF ACTION

  23   (Unfair Competition in Violation of California Business & Professions Code Section 17200 –

  24                                         Against All Defendants)

  25          263.    Plaintiff incorporates by reference as though fully set forth herein the allegations in

  26 Paragraphs 1 through 209 of this Complaint.

  27          264.    Defendants engaged in a variety of conduct toward Plaintiff that constitutes unlawful,

  28 unfair, and fraudulent business practices in violation of the California Business and Professions

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   1 Code section 17200, including without limitation: (a) interfering in Plaintiff’s ownership rights of

   2 Electronic Commerce and Plaintiff’s prospective economic advantage with existing and prospective

   3 customers of Electronic Commerce, by diverting credit card processing opportunities and other joint

   4 ventures to Ecommerce SAAS, OFI SAAS, Tangram and other businesses owned or controlled by

   5 Defendants; (c) improperly using Electronic Commerce’s confidential information to solicit

   6 business for Ecommerce SAAS, OFI SAAS, Tangram and other businesses owned or controlled by

   7 Defendants that should have gone to Electronic Commerce; (d) breaching fiduciary and other duties

   8 owed to Plaintiff; (e) illegally copying and destroying files; and (f) using Electronic Commerce’s

   9 employees and organization for the purpose of having them participate in Defendant’s scheme to

  10 divert from Electronic Commerce business and revenue to Ecommerce SAAS, OFI SAAS, Tangram

  11 and other businesses owned or controlled by Defendants.

  12          265.    Defendants took the actions alleged herein with the intent to injury Plaintiff, to gain

  13 an unfair competitive advantage, and to diminish competition.

  14          266.    Defendants profited and will, in the future, profit unjustly from his unfair business

  15 practices. Accordingly, pursuant to California Business and Professions Code section 17203,

  16 Plaintiff seeks an award of restitution and disgorgement.

  17          267.    As a proximate result of Defendant’s conduct, Plaintiff has been and will continue to

  18 be damaged. Unless enjoined by this Court, Defendant’s unlawful competition has and will continue

  19 to cause great and irreparable injury to Plaintiff. Plaintiff has no other adequate remedy at law for

  20 such acts and threatened acts. Plaintiff therefore requests, pursuant to Business and Professions Code

  21 section 17203, that during the pendency of this action, this Court issue a preliminary injunction, and

  22 that after trial, this Court issue a permanent injunction, restraining and enjoining Defendants and

  23 their agents, employees, attorneys and representatives, and anyone acting at their direction, from

  24 engaging in the unlawful, unfair, and fraudulent business practices alleged herein.

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   1                                                   PRAYER

   2        WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, as

   3 follows:

   4            1. For the equitable relief requested in this Complaint;

   5            2. Injunctive relief;

   6            3. For general damages, plus interest, according to proof at trial, but in an amount not less

   7               than $10,000,000;

   8            4. For exemplary and punitive damages according to proof;

   9            5. For restitution and disgorgement of all profits in amount sufficient to force Defendants

  10               to disgorge all ill-gotten gains;

  11            6. For punitive damages according to proof at trial;

  12            7. For reasonable attorneys’ fees and costs, as permitted by law;

  13            8. For an accounting;

  14            9. For a constructive trust;

  15            10. For expenses and costs of suit incurred;

  16            11. For prejudgment interest and pre-trial interest, according to proof; and

  17            12. For such, further, and different relief as the Court may deem just and proper.

  18   DATED: August 30, 2021
                                                               PACHECO & NEACH, P.C.
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  21                                                           /S/ ERIC J. FROMME
                                                               Rod Pacheco
  22                                                           Brian Neach
                                                               Eric J. Fromme
  23                                                           Attorneys for Plaintiff
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